        Case 2:20-cv-03850-PBT Document 7 Filed 08/24/20 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LEAGUE OF WOMEN VOTERS OF
PENNSYLVANIA, URBAN LEAGUE                           No. 2:20-CV-3850
OF GREATER PITTSBURGH, AMY
CAMPBELL, and WILLIAM
GILLIGAN,                                          Complaint Filed 8/7/20
                    Plaintiffs

                    v.

KATHY BOOCKVAR, in her Official
Capacity as Secretary of the                        Electronically Filed
Commonwealth of Pennsylvania, et al.,
                           Defendants


                          ENTRY OF APPEARANCE


      Please enter my appearance as counsel for Defendants Kathy Boockvar and

Jessica Mathis in the above-captioned matter.


                                      By:   /s/ Stephen R. Kovatis
                                            STEPHEN R. KOVATIS
                                            Senior Deputy Attorney General
                                            Pa. Bar # 209495
Office of Attorney General
Litigation Section
The Phoenix Building
1600 Arch Street, Suite 300
Philadelphia, PA 19103
Phone: (215) 560-2940
skovatis@attorneygeneral.gov

DATE: August 24, 2020
          Case 2:20-cv-03850-PBT Document 7 Filed 08/24/20 Page 2 of 2




                        CERTIFICATE OF SERVICE

      I, Stephen R. Kovatis, Senior Deputy Attorney General, do hereby certify

that I caused the foregoing Entry of Appearance, to be filed with the United

States District Court for the Eastern District of Pennsylvania via the Court’s

CM/ECF system, which will provide electronic notice to all counsel and parties of

record.


                                           /s/ Stephen R. Kovatis

                                           STEPHEN R. KOVATIS
                                           Senior Deputy Attorney General


DATE: August 24, 2020
